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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: PHILIPS RECALLED CPAP, BI-
    LEVEL PAP, AND MECHANICAL
    VENTILATOR PRODUCTS LIABILITY                      Master Docket: Misc. No. 21-01230
    LITIGATION

    This Document Relates To:                          MDL No. 3014
    All Actions



         JOINT NOTICE OF UPDATED TIMELINE OF PERTINENT MDL DATES

         The parties jointly submit this updated timeline of upcoming deadlines in In Re: Philips

Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products Litigations (MDL No. 3014). 1

    Date                                        Event                                   ECF No.
     5/28/2024         Plaintiffs’ Supplemental Responsive Brief Addressing           2521, 2534
                       Respironics’ Motion to Dismiss Second Amended Class
                       Action Complaint for Medical Monitoring
     6/12/2024         Respironics’ Supplemental Reply Brief Addressing               2521, 2534
                       Respironics’ Motion to Dismiss Second Amended Class
                       Action Complaint for Medical Monitoring
     7/1/2024          Personal Injury Claims: Conclusion of general causation        2727
                       fact discovery.

                       Medical Monitoring Class Action: Conclusion of all fact
                       discovery related to class certification, including Party
                       and non-party fact depositions.
     7/29/2024         Personal Injury Claims: Plaintiff’s Rule 26(a)(2) expert       2727
                       disclosures on general causation.

                       Medical Monitoring Class Action: Plaintiffs’ Rule
                       26(a)(2) expert disclosures relevant to class certification.


     8/9/2024          Economic Loss Class Action Settlement: Claims Period           2289
                       Deadline


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        The Parties intend this notice to be a reference resource for the Court. The Parties do not
intend this notice and the summaries of the deadlines to supersede the terms in the Court’s orders.
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Date                                      Event                                  ECF No.
 9/30/2024      Personal Injury Claims: Defendants’ Rule 26(a)(2) expert       2727
                disclosures on general causation.

                Conclusion of generally-applicable fact discovery,
                including Defendant and non-party depositions (this
                deadline does not include case-specific fact discovery).

                Medical Monitoring Class Action: Defendants’ Rule
                26(a)(2) expert disclosures relevant to class certification.

 10/29/2024     Personal Injury Claims: Parties to submit stipulated or        2727
                completing proposals for selection of individual
                bellwether personal injury cases.

                Plaintiffs’ Rule 26(a)(2) rebuttal expert disclosures on
                general causation.

                Medical Monitoring Class Action: Plaintiffs’ Rule
                26(a)(2) rebuttal disclosures relevant to class
                certification.
 12/30/2024     Personal Injury Claims: Deadline to complete expert            2727
                depositions on general causation.

                Medical Monitoring Class Action: Deadline to complete
                expert depositions relevant to class certification.
                Personal Injury Claims: Deadline to file Rule                  2727
 1/31/2025      702/Daubert motions on general causation experts.

                Medical Monitoring Class Action: Deadline to file Rule
                702/Daubert motions on class certification issues.
                Personal Injury Claims: Deadline for Parties to file           2727
 3/18/2025      oppositions to Rule 702/Daubert motions on general
                causation experts.

                Medical Monitoring Class Action: Deadline to file Rule
                702/Daubert oppositions on class certification issues.

                Personal Injury Claims: Deadline for reply briefs on Rule      2727
 4/21/2025      702/Daubert Motions on general causation.

                Medical Monitoring Class Action: Deadline to file reply
                briefs on Rule 702/Daubert motions on class certification
                issues.



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    Date                                        Event                                    ECF No.
     5/2025 or          Personal Injury Claims: Potential hearing date on Rule         2727
     6/2025             702/Daubert motions on general causation, subject to
                        Court’s scheduling

                        Medical Monitoring Class Action: Potential hearing date
                        for Rule 702/Daubert motions on class certification
                        experts, subject to Court’s scheduling



         Pursuant to Pretrial Order #28 (ECF No. 783), the following procedures and deadlines

apply to the Amended Master Personal Injury Complaint and Individual Short Form Personal

Injury Complaints.

                    Date                                           Event
     Within sixty (60) days of the date
    on which the Court issues a ruling
                                          Deadline for Defendant to file a Master Answer to the
       as to its motion to dismiss the
                                          Amended Master Personal Injury Complaint.
     Amended Master Personal Injury
                 Complaint 2
     Within forty-five (45) days of the
     date on which the Court issues a
    ruling granting Plaintiffs’ Co-Lead   Deadline for Plaintiffs’ Co-Lead Counsel to file a Second
        Counsel leave to amend the        Amended Master Personal Injury Complaint
     Amended Master Personal Injury
                  Complaint
                                          Deadline for Personal Injury Plaintiffs to upload their
    Within fourteen (14) days of filing   Short Form Complaint to the online MDL Centrality
        a Short Form Complaint            System accessible at www.mdlcentrality.com/ pursuant
                                          to Pretrial Order # 27
    Within twenty-one (21) days after
                                          Deadline for any Personal Injury Plaintiff, who has filed
    service of the Master Answers to
                                          a Short Form Complaint, to amend the same for any
     the Amended Master Personal
                                          reason
    Injury Complaint by Defendants
                                          Deadline for any Personal Injury Plaintiff, who files a
    Within twenty-one (21) days after     Short Form Complaint after the filing of the Master
    service of Short Form Complaint       Answers to the Amended Master Personal Injury
                                          Complaint, to amend the same for any reason



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       If a motion to dismiss the Amended Master Personal Injury Complaint does not result in
the dismissal of the Amended Master Personal Injury Complaint in its entirety, and provided that
the Court does not grant leave to amend the Amended Master Personal Injury Complaint.


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                Date                                            Event
 Within twenty-one (21) days after     Deadline for any Personal Injury Plaintiff, whose case is
 selection for inclusion in the pool   subsequently chosen for inclusion in the pool from
from which bellwether cases are to     which bellwether cases are to be selected, to amend his
             be selected               or her Short Form Complaint

Date: April 23, 2024                               Respectfully submitted,

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